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                         Twitter, Inc.; X Holdings; Elon Musk; and
                    16   Does
                    17                                 UNITED STATES DISTRICT COURT
                                                     NORTHERN DISTRICT OF CALIFORNIA
                    18
                         COURTNEY MCMILLIAN and RONALD                   Case No. 3:23-cv-03461-TLT
                    19   COOPER,
                                                                          DEFENDANTS’ OPPOSITION TO
                    20                 Plaintiffs,                        PLAINTIFFS’ ADMINISTRATIVE
                                                                          MOTION TO CONSIDER WHETHER
                    21          v.                                        ANOTHER PARTY’S MATERIAL
                                                                          SHOULD BE SEALED
                    22   X CORP., f/k/a/ TWITTER, INC.,
                         X HOLDINGS, ELON MUSK, Does,                    Judge:     Trina L. Thompson
                    23                                                   Magistrate Judge: Robert M. Illman
                                       Defendants.                       Date: August 20, 2024
                    24                                                   Time: 2:00 pm
                                                                         Courtroom: 9 – 19th Floor
                    25

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MORGAN, LEWIS &
 BOCKIUS LLP                                                       i         Case No. 3:23-cv-03461-RMI
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   LOS ANGELES
                                      DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ ADMINISTRATIVE MOTION
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                     1           Defendants oppose Plaintiffs’ Administrative Motion to Consider Whether Another Party’s

                     2   Material Should Be Sealed (Dkt. 87 (the “Motion”)), and respectfully ask that the Court deny

                     3   Plaintiffs’ Motion. Not only do Plaintiffs seek to seal material that neither party has designated

                     4   “confidential,” in violation of Local Rule 79-5(f), but Plaintiffs’ communication to the Court is

                     5   completely inappropriate and prejudicial to Defendants.

                     6   I.      THERE ARE NO GROUNDS TO FILE PLAINTIFFS’ LETTER UNDER SEAL

                     7           To start, Plaintiffs abuse Local Rule 79-5(f), which permits one party to seek to seal a

                     8   document that another party has designated “confidential.” But Plaintiffs do not seek to seal a

                     9   document Defendants have designated “confidential.” Instead, Plaintiffs seek to seal a letter that
                    10   their counsel drafted to the Court on May 15, 2024 (the “Letter”). The Letter contains no

                    11   “confidential” information, and merely addresses at a high level two subjects: (1) the timing of a

                    12   dispute between the parties over Plaintiffs’ repeated and improper reliance on a privileged

                    13   document, the “Severance Matrix,” and (2) Plaintiff McMillian’s unauthorized retention of multiple

                    14   sensitive Twitter corporate documents (including the “Severance Matrix”) at the time of her

                    15   departure in violation of her confidentiality agreement with the company.

                    16           Plaintiffs’ Letter contains no information that is subject to sealing, nor any material that is

                    17   even conceivably “confidential” or “privileged.” And unlike the only other time Plaintiffs filed an

                    18   administrative motion to seal under Local Rule 79-5(f)—seeking to seal extensive descriptions of

                    19   the “Severance Matrix” in Plaintiffs’ opposition to Defendants’ motion to dismiss, which were
                    20   properly subject to sealing (see Dkt. 45)—Plaintiffs this time did not consult with Defendants

                    21   before filing the instant Motion or ask Defendants if they wanted the Letter sealed. Had Plaintiffs

                    22   done so, Defendants would have told them there are no grounds to seal the Letter because it is not

                    23   “confidential.”

                    24           Because Plaintiffs seek to seal material that no party has designated as “confidential,”

                    25   “privileged,” or that is subject to other protections, their Motion is improper under Local Rule 79-

                    26   5(f).

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                     1   II.      PLAINTIFFS’ LETTER IS INAPPROPRIATE AND PREJUDICIAL

                     2            Plaintiffs ask the Court to seal a Letter drafted by their counsel that self-servingly addresses

                     3   Plaintiff McMillian’s retention of Twitter’s privileged and confidential documents. This Letter is

                     4   inappropriate and prejudicial to Defendants, and the Court should disregard it.

                     5            To start, Plaintiffs cite no basis in the Local Rules or the Court’s practices for submitting

                     6   their Letter to the Court because neither authority permits Plaintiffs to submit a communication

                     7   about the parties’ ongoing efforts to meet and confer about issues not properly before the Court.

                     8   Even more puzzling is the fact that the Letter apparently seeks no relief from the Court, and thus is

                     9   not only procedurally inappropriate but wholly unwarranted.
                    10            Further, Plaintiffs’ Letter grossly mischaracterizes the very issue it purports to explain to

                    11   the Court. In August 2023, Defendants e-mailed a letter to Plaintiffs’ counsel stating that Plaintiff

                    12   McMillian printed and downloaded numerous sensitive corporate documents before she left

                    13   Twitter, and requested that she immediately return those documents or else destroy them. Ex. 1.

                    14   On September 13, 2023, Plaintiffs’ counsel stated in a letter that Plaintiff McMillian kept a flash-

                    15   drive that contained a “Twitter Workday file.” Ex. 2. On March 13, 2024, Defendants’ counsel

                    16   e-mailed Plaintiffs’ counsel stating that Plaintiff McMillian downloaded and printed highly

                    17   confidential company documents including the “Twitter Workday file,” the attorney-client

                    18   privileged “Severance Matrix,” and other confidential documents related to Twitter’s compensation

                    19   and benefit offerings. Ex. 3. On April 3, 2024, Plaintiffs’ counsel asserted in a letter that Plaintiff
                    20   McMillian took only two documents from Twitter: the “Severance Matrix” and a “Twitter Workday

                    21   file” containing information related to her own compensation and benefits. Ex. 4. On April 29,

                    22   2024, Defendants’ counsel stated in a letter to Plaintiffs’ counsel that X Corp. performed a forensic

                    23   analysis showing that on several dates leading up to her departure from Twitter, Plaintiff McMillian

                    24   engaged in the unauthorized transfer of multiple sensitive documents (not only the two she admitted

                    25   taking) including through use of an external USB device, by downloading PDFs to a local drive,

                    26   and by printing from within the company’s network to a personal printer. Ex. 5. Defendants’

                    27   counsel stated in their letter that the transferred materials include the attorney-client privileged

                    28   “Severance Matrix”—which Plaintiff McMillian indisputably maintains in her possession without
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                     1   authorization—as well as other sensitive and confidential Twitter materials, including documents

                     2   relating to employee-wide benefits and compensation, minutes of meetings of the Compensation

                     3   Committee to the Twitter Board of Directors (which Plaintiff McMillian would not have attended),

                     4   and documents potentially containing sensitive employee, financial, and strategic planning data.

                     5   Id. In their letter, Defendants requested that Plaintiff McMillian return the documents, catalog the

                     6   documents contained in the Workday file, or, at the very least, provide a declaration identifying the

                     7   documents McMillian took and the status of those documents (i.e., returned, destroyed, or

                     8   otherwise). Id. On May 20, 2024, Plaintiffs’ counsel stated in a letter that Plaintiff McMillian

                     9   continued to keep in her possession copies of the “Severance Matrix,” the “Workday File,” and
                    10   “other documents” following her notice of termination from Twitter (i.e., following her internal

                    11   Twitter access having been cut off), and that she continues to keep copies of the “Severance Matrix”

                    12   and “Workday File” to this day. Ex. 6. To date Plaintiff McMillian has not identified the titles or

                    13   types of “other documents” she accessed leading up to her departure from Twitter or provided a

                    14   declaration per Defendants’ request.

                    15            Plaintiffs’ Letter to the Court misrepresents the number and type of documents she took

                    16   from Twitter without authorization and in violation of her confidentiality agreement, despite

                    17   Defendants informing her of X Corp.’s forensic analysis on April 29, 2024. Plaintiffs’ attempt to

                    18   preempt this issue by unilaterally submitting a letter to the Court—but then attempting to protect

                    19   that letter from disclosure—is pure gamesmanship. Plaintiffs’ unsanctioned Letter is inappropriate
                    20   and deeply prejudicial. The Court should disregard it but, at a minimum, there is no basis on which

                    21   to seal it.

                    22

                    23   Dated: May 20, 2024                                MORGAN, LEWIS & BOCKIUS LLP
                    24                                                      By /s/ Melissa Hill
                                                                                Melissa Hill (pro hac vice)
                    25                                                          Sean McMahan (pro hac vice)
                                                                                Jared R. Killeen (pro hac vice)
                    26                                                          Mark A. Feller
                    27                                                           Attorneys for Defendants
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